        Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 1 of 31 PageID #:286

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Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 2 of 31 PageID #:287
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 3 of 31 PageID #:288
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 4 of 31 PageID #:289
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 5 of 31 PageID #:290
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 6 of 31 PageID #:291
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 7 of 31 PageID #:292
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 8 of 31 PageID #:293
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 9 of 31 PageID #:294
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 10 of 31 PageID #:295
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 11 of 31 PageID #:296
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 12 of 31 PageID #:297
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 13 of 31 PageID #:298
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 14 of 31 PageID #:299
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 15 of 31 PageID #:300
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 16 of 31 PageID #:301
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 17 of 31 PageID #:302
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 18 of 31 PageID #:303
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 19 of 31 PageID #:304
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 20 of 31 PageID #:305
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 21 of 31 PageID #:306
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 22 of 31 PageID #:307
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 23 of 31 PageID #:308
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 24 of 31 PageID #:309
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 25 of 31 PageID #:310
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 26 of 31 PageID #:311
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 27 of 31 PageID #:312
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 28 of 31 PageID #:313
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 29 of 31 PageID #:314
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 30 of 31 PageID #:315
Case: 1:18-cv-00028 Document #: 16 Filed: 05/16/18 Page 31 of 31 PageID #:316
